         Case 1:11-cv-04971-JMF Document 87-2 Filed 12/14/12 Page 1 of 4




                    UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK
                                      X
                                      :
MISHCON DE REYA NEW YORK LLP,
                                      : Civil Action No. 11-4971 (JMF)
                                      :
                     Petitioner,
                                      :
     -against-                        :
                                      : [PROPOSED] ORDER
GRAIL SEMICONDUCTOR, INC.,            :
                                      :
                     Respondent.      :
                                      X


        Upon consideration of the Receiver’s Report and Motion to Modify this Court’s

December 3, 2012 Order (the “Motion”),1 and good cause appearing for the relief requested

thereby, it is hereby

        ORDERED that the Receiver is authorized to retain K&L Gates LLP as his counsel, nunc

pro tunc to December 3, 2012, in all matters relating to this receivership; and it is further

        ORDERED that, subject to Court approval, the Receiver’s commissions, and any

reasonable and necessary attorneys’ fees and other reasonable costs and expenses incurred by the

Receiver, shall be entitled to first priority payment out of any gross proceeds generated by the

sale of the ’552 Patent; and it is further

        ORDERED that Grail shall execute and deliver to the Receiver the form of patent

assignment annexed hereto as Exhibit A within 2 days; and it is further

        ORDERED that Grail shall respond to each of the Receiver’s outstanding information

requests as set forth in the December 4 Email within 3 days; and it is further




1 Capitalized terms used herein and not otherwise defined shall have the meanings ascribed to

them in the Motion.
         Case 1:11-cv-04971-JMF Document 87-2 Filed 12/14/12 Page 2 of 4




       ORDERED that the Receiver is hereby authorized to appear and seek appropriate relief in

the Infringement Action, including, without limitation substitution or intervention, to the extent

necessary to preserve or protect the value of the ‘552 Patent; and it is further

       ORDERED that all other deadlines set forth in the December 3 Order are hereby

extended by sixty (60) days; and it is further

       ORDERED that this Order is without prejudice to the Receiver’s right, upon notice to all

parties in interest, to seek such further powers as may be necessary to carry out the terms of the

December 3 Order, or to fulfill his duties as Receiver.



       Dated: New York, New York
              December __, 2012
                                                       United States District Judge




                                                 -2-
Case 1:11-cv-04971-JMF Document 87-2 Filed 12/14/12 Page 3 of 4




                          EXHIBIT A
         Case 1:11-cv-04971-JMF Document 87-2 Filed 12/14/12 Page 4 of 4



                                            Patent Assignment

        This PATENT ASSIGNMENT (“Assignment”), effective as of December 6, 2012, is made by
and between Grail Semiconductor, Inc. a California corporation with its principal place of business
located at ____________________ (hereinafter “Assignor”), and Andrew L. Reibman, as Receiver,
having a having a place of business at K&L Gates LLP, 599 Lexington Avenue, New York, NY 10022
(hereinafter “Receiver”).

                                                WHEREAS

        A.      Assignor is the sole owner of United States Patent No. 6,642,552 (hereinafter “Patent”);
and
         B.       Receiver has been ordered by the Court in Mishcon de Reya New York LLP v. Grail
Semiconductor, Inc., No. 1:11-cv-04971-JMF (S.D.N.Y.) (ECF Doc. No. 79) (the “Order”), to receive
assignment of all of Assignor’s right, title and interest in and to the Patent for the purpose of selling,
transferring, or assigning the Patent in satisfaction of a judgment against Assignor.

         NOW, THEREFORE, pursuant to the Order, Assignor has assigned and transferred, and does
hereby assign and transfer, to Receiver all of Assignor’s right, title and interest in and to the Patent,
including all reissues, extensions, revivals, renewals, and re-examinations of the Patent, and the right to
sue for and recover damages for any past, present or future infringement of the Patent, the same to be held
and enjoyed by Receiver for the purpose of selling, transferring, or assigning the Patent as ordered by the
Court, and thereafter for the use and enjoyment of any party to which Receiver sells, transfer, or assigns
the Patent, to the end of the term of the Patent as fully and entirely as the same would have been held and
enjoyed by Assignor, if this assignment had not been made.

         IN WITNESS WHEREOF, Assignor has caused these presents to be signed by its duly appointed
officer having full authority in the circumstances.

SIGNED for and on behalf of Grail Semiconductor, Inc.

By __________________________ on _____________________
         (Signature)                     (Date)

   ___________________________            __________________________
        (Print Name)                             (Print Title)

State of ___________________              County of __________________

On this ______ day of _________________, 2012 before me, _____________________________,
personally appeared ______________________________, who proved to me on the basis of satisfactory
evidence to be the person whose name is subscribed to the instrument and acknowledged to me that
he/she executed the same in his/her authorized capacity and that by his/her signature on the instrument the
person, or the entity upon behalf of which the person acted, executed the instrument. I certify under
PENALTY OF PERJURY under the laws of the State of ____________ that the foregoing paragraph is
true and correct.

WITNESS my hand and official seal.

___________________________
      (Notary Public)
